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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 Criminal No. 22-cr-15 (APM)
                                          )
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                                            ORDER

       At the Omnibus Hearing scheduled for Wednesday, May 24 at 9:30 a.m. in Courtroom 20,

counsel shall be prepared to proceed according to the following schedule:

   1. First, the court will hear any victim impact statements or testimony applicable to all

       defendants.

   2. Second, the court will deliver its opinion on outstanding post-trial motions.

   3. Third, the court will hear legal arguments regarding the sentencing enhancements and

       restitution issues. If time permits, the court may hear argument about the factual bases for

       sentencing enhancements with respect to particular defendants.




                                                            Amit P. Mehta
Date: May 22, 2023                                   United States District Court Judge
